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                                                UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                                                    CASE NUMBER

                                                          PLAINTIFF(S)                          2:12-cv-02289-JCG
                                    v.
JACK PERKO
                                                                                         NOTICE OF CLERICAL ERROR
                                                         DEFENDANT(S)


You are hereby notified that due to a clerical error            documents associated with the filing of the new action
    the following scanned document               docket entry have/has been corrected as indicated below.
Title of scanned document: ORDER VACATING HEARING AND ENTRY OF CONSENT JUDGMENT
Filed date:               June 25, 2014                  Document Number(s): 44
    Incorrect case number                                            was assigned to this       action      document
    Case number has been corrected. The correct case number is
    Incorrect judge's initials were indicated on this           action        document . The correct judge's initials are:
    Incorrect magistrate judge's initials were indicated on this                action      document . The correct magistrate judge's
     initials are:                                   .
    Case has been reassigned from               Judge       Magistrate Judge                                                        to
         Judge       Magistrate Judge                                                . The initials of the new judge(s) are:
    Case was assigned to            Western         Southern      Eastern division. Pursuant to General Order 14-03, the case
     has been reassigned to the           Western         Southern         Eastern division. The former case number
                                            has been reassigned to new case number                                             .
    Case title is corrected from                                                         to
    Document has been re-numbered as document number
    Incorrect        Filed Date          Date of Document       Date ENTERED on CM/ECF was stamped on the document.
     The correct date is                                               .
    Document is missing page number(s):
    To ensure proper routing of documents, all documents filed with the court must reflect the following case number
     and judge's initials:
    Other:     Consent Judgment (Exhibit "1"), was not attached to the Order.




                                                                             CLERK, U.S. DISTRICT COURT

Date:                June 8, 2018                                            By: Kristee Hopkins
                                                                                 Deputy Clerk


G-11 (06/14)                                              NOTICE OF CLERICAL ERROR
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                      EXHIBIT "1"
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 GOLDSMITH & HULL APC               Our File CDCS407
 WILLIAM I. GOLDSM~TH (82 183)
 16933 Parthenia street., Suite 110
 Northridge, CA 9 1343
                1
 Telephone: 8 18 990-6600
 Teleco~ier: 8 18 990-6 140

 Attorne s for Plaintiff
            d
 United tates of America

                           UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALI'FORNIA

  CrNITED STATES OF AMERICA,                   CASE NO. CV 12-02289 - I       JC
                           Plaintiff,
                      v.                       CONSENT JUDGMENT




        Plaintiff, United States of America, having filed its Complaint herein and the
 defendant, having filed its Counter Claim and having consented to the making and
 entry of this Judgment without trial, hereby agree as follows:
        1.      This Court has jurisdiction over the subject matter of this litigation and
 over all parties thereto (28 U.S.C. Section 1345). The complaint filed herein states a
 claim upon which relief can be granted.
        2. The Defendant hereby acknowledges and accepts service of the Complaint
 filed herein. Defendant acknowledges and agrees that the facts and allegations made
 therein are true and correct.
       3.       The defendant hereby agrees to the entry of Judgment in the principal
amount of $69,198.93 plus interest accrued to June 13,2014 in the sum of $1 00,020.24;
with interest accruing thereafter at $17.02 per day until entry of judgment and thereafter
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at the legal rate per 28 U.S.C.   9 1961; plus penalty/administrative charges in the amount
of $0.00; attorney fees in the sum of $4,367.95 and costs in the sum of $459.00.
        4.     Defendant will make payments of Sixty ~hbusandDollars ($60,000.00) to
plaintiff as follows:
        A) One payment of Twenty Thousand Dollars ($20,000.00) by July 15,2014;
and,
        B) Monthly payments in the amount of Four Hundred Dollars ($400.00 USD)
per month, beginning August 1, 2014 and continuing monthly at the same time
thereafter on the first of every month until Forty Thousand Dollars ($40,000.00) is
paid.
        C) Time is of the essence on all payments made hereunder.
        D) If all payments are timely made under paragraph 4, totaling Sixty Thousand
Dollars ($60,000.00), then plaintiff will cancel the remainder of the debt and the debt
described in paragraph 3 will be deemed fully and finally satisfied.
 5.     The Twenty Thousand Dollar ($20,000.00) payment due on July 15,2014 will
 to be made payable to the U.S. Department of Justice and forwarded to GOLDSMITH
 & HULL, APC, 16933 Parthenia street, Suite 110,Northridge, CA 91343. Thereafter,
 the Four Hundred Dollar ($400.00) a month payments due on August 1,2014 and
 continuing on the first of the month until Forty Thousand Dollars ($40,000.00) is
 paid are to be made payable to the U.S. Department of Justice and forwarded to U.S.
 Department of Justice, Central Intake Facility, P.O. Box 790363, St. Louis, MO
 63 179-0363,and to include the number: 20 10-A-78121 on any form of payment.
        6.     The payment of $400.00 per month may be reevaluated and may be
modified to take into account the changed economic circumstances of defendant
pursuant to paragraph 4(B). Notwithstanding the foregoing, such re-evaluation and
modification may take place, at most, once, on an annual basis.
      7.     For purposes of evaluation and possible modification, the defendant will

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provide plaintiff with a copy of hisher Federal Income Tax return, (including all
attachments) or other evidence of total annual income, and a completed Financial
Statement provided by plaintiff, along with copies of his last two earning statements.
        8.     Under no circumstances, will the monthly payment be higher than $400
per month. Defendant does have the right but not obligation to prepay any amounts
owed under this agreement without any penalty whatsoever. Prepayment will not
accelerate the rate in which b r e payments are due.
        9.     Should defendant become ten (10) days or more delinquent in making any
payment in accordance with this consent judgment, plaintiff will enforce this judgment
in accordance with the California Code of Civil Procedure, giving defendant credit for
any and all payments made.
        10.    Liens will be recorded with the applicable County Recorder wherein
defendant resides or owns real property and defendant shall bear the cost of this
transaction.
        11.    When the amount of the consent judgment is liquidated, plaintiff shall
prepare and file with the Clerk of the Court a Satisfaction of Judgment and provide
defendant with a Release of Lien Under Abstract of Judgment for defendant to record
with the applicable County Recorder.
        12.    This consent judgment will accrue interest at the legal rate from the date
of entry until paid in full.
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DATE:      <//?/I   2
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                                    JACK PERKO -
                                    LAW OFFICES OF JACK PERKO
                                    26895 ALISO CREEK ROAD, SUITE B66
                                    ALISO VIEJO, CA 92656
                                    SS# XXX-XX-XXXX




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                                    America




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